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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v.

PAUL J. MANAFORT, Jr., Crim- No- 17-201-1 (ABJ)

Defendant.

 

 

GOVERNMENT’S RESPONSE TO COURT’S MINUTE ORDER OF MAY 18. §018

The United States, by and through Special Counsel Robert S. Mueller, III, hereby files its
response to the Court’s Minute Order, dated May 18, 2018. The government has no objection to
the sureties proposed by the defendant Nevertheless, for reasons explained in an ex parte filing
Submitted to the Court on this date, the government has moved the Court for leave to file a
supplemental response to the defendant`S renewed Motion for Reconsideration of Conditions of
Release (Doc. 291) Within ten days, by June 4, 2018.

Respectt`ully submitted,

ROBER'I` S. MUELLER III
Special Coun =l

 

Dated: May 25, 2018 By:

 

Andrcw Weissmann

Greg D. Andres (D.D.C. Bar No. 459221)
Senior Assistant Special Counsels

U.S. Department of Justice

Special Counsel`s Office

950 Pennsyivania Avenue NW
Washington. D.C. 20530

Telephone: (202) 616-0800

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